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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


IN RE ORDER IN JUDGE SCRIVEN’S                                     8:20-mc-39-MSS
CASES ONLY:


CASE MANAGEMENT AND SCHEDULING
ORDERS
_____________________________________/
                        ORDER CONCERNING CIVIL CASES
      On March 19, 2020, the Court entered its Order Concerning Jury Trials and Other

Proceedings in re: Coronavirus Public Emergency, which stayed all civil cases assigned

to Judge Scriven and deadlines associated with those cases until May 29, 2020.

Notwithstanding the current stay of this matter, the Court hereby ORDERS that, for any

non-E.R.I.S.A. case in which a Case Management and Scheduling Order has already

been entered, Designated Lead Plaintiff’s Counsel SHALL complete and file the attached

Supplemental Scheduling Report (“SSR”) on or before May 26, 2020. For cases in which

an E.R.I.S.A. Case Management and Scheduling Order has been entered, the attached

alternative Supplemental Scheduling Report for E.R.I.S.A. cases shall be used instead

and shall be filed on or before May 26, 2020.

      Counsel shall complete the Report by extending any deadline referenced on the

SSR template that was outstanding as of March 19, 2020 by NINETY (90) DAYS

consistent with the following exemplar.

      EXEMPLAR:


                                          Current Deadline     Amended Deadline
 Mandatory Initial Disclosures              MARCH 18, 2020               EXPIRED
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    Certificate of Interested             MARCH 19, 2020                JUNE 17, 2020
    Persons and Corporate
    Disclosure Statement
    Motions to Add Parties or to          MARCH 20, 2020                JUNE 18, 2020
    Amend Pleadings
    Discovery Deadline                    MARCH 23, 2020                JUNE 22, 20201

    Trial Term                                   JULY 2020             OCTOBER 2020




         If a deadline would fall on a weekend or holiday, counsel shall use the next

business day as the amended deadline. Any deadline that had expired at the time of the

stay SHALL NOT be resurrected and shall be designated as expired. In no event will

any deadlines be extended beyond ninety (90) days for purposes of completing this

Report.

         For cases in which an ADA Scheduling Order or an FLSA Scheduling Order has

been entered, no SSR need be filed. Instead, any case management deadline affected

by the stay shall be recalculated by adding NINETY (90) DAYS to account for the stay.

         For cases in which a Case Management Report has been filed but no Case

Management and Scheduling Order has been entered, the Court will sua sponte adjust

the Parties’ requested deadlines to the extent deemed appropriate in light of the stay and

enter a separate scheduling order once the stay has been lifted. As such, the Parties are

relieved of the requirement to file an amended Case Management Report as previously

directed in the Court’s COVID-19 Stay Order.




190 days from March 23, 2020 is Sunday, June 21, 2020. Thus, the appropriate amended
deadline is June 22, 2020.

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      The aforementioned 90-day extension SHALL NOT APPLY TO A STAYED

DEADLINE TO RESPOND TO A PENDING MOTION OR REPLY TO A RESPONSE.

Unless otherwise Ordered by the Court, any response or reply that is currently due to be

filed shall now be due June 12, 2020, or the current date on which the response would

be typically due under the Rules, whichever is later. Any other deadlines (i.e. to

respond to requests for discovery etc.) not specifically addressed on the SSR template

are extended until June 29, 2020. In cases in which no Case Management Report has

been filed and in which the deadline to file a Case Management Report was stayed,

the Parties shall have up to and including June 29, 2020 or sixty (60) days after

service of the complaint upon any defendant or the first appearance of any

defendant, whichever is later, to meet and confer for the purposes of filing a Case

Management Report, which Report shall be filed within fourteen (14) days of the

meet and confer deadline.

      If a further extension of any deadlines set by this Order or any clarification of this

Order is needed, the Parties are directed to file a motion after conciliation pursuant to

Local Rule 3.01(g).

      DONE and ORDERED in Tampa, Florida this 19th day of May, 2020.




Attachments:               Supplemental Scheduling Report
                           Supplemental Scheduling Report for E.R.I.S.A. Cases

Copies furnished to:
Counsel of record
Any pro se parties

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                      SUPPLEMENTAL SCHEDULING REPORT


                                   CURRENT DEADLINE   AMENDED DEADLINE
 Mandatory Initial Disclosures

 Certificate of Interested
 Persons and Corporate
 Disclosure Statement

 Motions to Add Parties or to
 Amend Pleadings

 Disclosure of Expert Reports

       Plaintiff:

       Defendant:

 Discovery Deadline

 Dispositive Motions, Daubert,
 and Markman Motions

 Meeting In Person to Prepare
 Joint Final Pretrial Statement

 Joint Final Pretrial Statement
 (See Section III. B.)

 All Other Motions Including
 Motions In Limine

 Trial Briefs and Deposition
 Transcripts with Designations
 Highlighted

       Trial Term

 Parties shall be prepared to
 try this case anytime during
 the trial term. A more specific
 date will follow, by separate
 notice.

 Mediation Deadline


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         SUPPLEMENTAL SCHEDULING REPORT FOR E.R.I.S.A. CASES

                                 CURRENT DEADLINE     AMENDED DEADLINE
 Certificate of Interested
 Persons and Corporate
 Disclosure Statement
 Filing of Administrative
 Record
 by Defendant(s)
 Motion to Add Parties or to
 Amend Pleadings
 Deadline for seeking specific
 discovery beyond the scope
 of the Administrative Record
 If no discovery is requested
 by Plaintiff beyond the scope
 of the Administrative Record,
 the deadline for summary
 judgment motions
 Meeting in Person to Prepare
 Joint Final Pretrial
 Statement
 Joint Final Pretrial
 Statement, (including
 Witness Lists, Exhibit Lists
 with Objections on Approved
 Form)
 Trial Briefs

 Mediation Deadline

 Trial Term




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